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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                           Roanoke Division


SALEM TOOLS, INC.,                                )
                                                  )
                               Plaintiff,         )
                                                  )      Civil Action No. 7:19cv738
                                                  )
v.                                                )
                                                  )
                                                  )
LANDMARK TECHNOLOGY A, LLC,                       )
                                                  )
                               Defendant.         )



                                            NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Salem Tools, Inc. hereby provides

notice of the dismissal, with prejudice, of its claims against Landmark Technology A, LLC in

this action.

                                                      Respectfully submitted,

                                                      /s/ Nathan A. Evans
Dated: December 18, 2019                              Nathan A. Evans (VA Bar No. 46840)
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